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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                        Plaintiff,            )
                                              )
           vs.                                )   No. 4:07CR656-DJS
                                              )
AVERY WEST and KIMBERLY WEST,                 )
                                              )
                        Defendants.           )


                                      ORDER


           Upon careful consideration of the May 16, 2008, report

and recommendation of the United States Magistrate Judge [Doc.

#182], and the lack of objections thereto,

           IT IS HEREBY ORDERED that the magistrate judge’s May 16,

2008,   report   and    recommendation        [Doc.   #182]    is   accepted     and

adopted.

           IT IS FURTHER ORDERED that defendant Avery West’s motion

to suppress the contents of any and all electronic surveillance

[Doc #113] is denied.

           IT IS FURTHER ORDERED that defendant Kimberly West’s

motion to suppress the fruits of illegal electronic and other

surveillance [Doc #118] is denied.

     Dated this        6th       day of June, 2008.


                                         /s/Donald J. Stohr
                                         UNITED STATES DISTRICT JUDGE
